  Case 1:21-mj-17026-SAK Document 22 Filed 05/25/22 Page 1 of 2 PageID: 56




                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA              :     Hon. Sharon A. King

      V.                              :     Mag. No. 21-mj-17026

ANTHONY STILES                        :     ORDER FOR A CONTINUANCE

      This matter having come before the Court on the joint application of Philip

R. Sellinger, United States Attorney for the District of New Jersey (by Jeffrey B.

Bender, Assistant United States Attorney), and defendant Anthony Stiles (by Paul

Sarmousakis, Esq.), for an order granting a continuance of the proceedings in the

above-captioned matter from the date this Order is signed through and including

August 1, 2022 to permit defense counsel the reasonable time necessary for

effective preparation in this matter and to allow the parties to conduct plea

negotiations; and the defendant being aware that the defendant has the right to

have an information filed or the matter submitted to a grand jury within 30 days

of the date of the defendant’s arrest pursuant to Title 18, United States Code,

Section 3 1 6 1 (b); and the Court having previously entered Standing Order 2 1 1 1,
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continuing this and all other criminal matters in this district from December 29,

202 1 through January 3 1 2022, in response to the national emergency created
                             ,




by COVID- 19; and the Court having granted five prior continuances; and the

defendant, through the defendant’s attorney, having consented to the

continuance; and for good and sufficient cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be continued

for the following reasons:
  Case 1:21-mj-17026-SAK Document 22 Filed 05/25/22 Page 2 of 2 PageID: 57




       ( 1)    The parties have reached a pre-indictment resolution, and seek

 additional time to present the plea agreement to the Court for its review, which

 would render any grand jury proceedings and any subsequent trial of this

 matter unnecessary;

      ( 2)    The defendant has consented to the aforementioned continuance;

      t 3)    The grant of a continuance will likely conserve judicial resources; and

      (4) Pursuant to Title 18, United States Code, Section 3161(h)(7), the ends of
justice served by granting the continuance outweigh the best interests of the

public and the defendant in a speedy trial.

      WHEREFORE, it is on this of                        ,   2022;

      ORDERED that this action be, and it hereby is, continued from the date

this Order is signed through and including August 1, 2022; and it is further

      ORDERED that the period from the date this Order is signed through and

including August        1, 2022 shall be excludable in computing time under

the Speedy Trial Act of 1974.

                                                 L
                                          HONORABLE SHARON A. KING
                                                                     k.
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                                          United States Magistrate Judge
Form and entry consented to:


 /s! Paul A. Sarmousakis
Paul Sarmousakis, Esq.
Counsel for Defendant Anthony Stiles

/s/Jeffrey B. Bender
Jeffrey B. Bender
Assistant U.S. Attorney
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